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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION

   In re:                                          §    Case No. 20-11483-KHK
                                                   §
   DAVID MICHAEL MARESCA                           §
                                                   §
                                                   §
                       Debtor(s)                   §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           H. Jason Gold, chapter 7 trustee, submits this Final Account, Certification that the
   Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $77,553.00              Assets Exempt:        $5,600.00
 (without deducting any secured claims)



 Total Distributions to                                Claims Discharged
 Claimants:                        $804,340.10         Without Payment:      $0.00

 Total Expenses of
 Administration:                   $120,659.90


         3)      Total gross receipts of $925,000.00 (see Exhibit 1), minus funds paid to the
 debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $925,000.00 from the
 liquidation of the property of the estate, which was distributed as follows:




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                                    CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                  SCHEDULED         ASSERTED           ALLOWED                PAID
   Secured Claims
   (from Exhibit 3)                $768,928.30       $775,304.51         $804,340.10         $804,340.10
   Priority Claims:
       Chapter 7
       Admin. Fees and                     NA        $198,371.81         $198,371.81         $120,659.90
       Charges
        (from Exhibit 4)
       Prior Chapter
       Admin. Fees and                     NA         $34,141.24           $21,945.00               $0.00
       Charges (from
       Exhibit 5)
       Priority
       Unsecured                     $2,205.51        $66,846.91           $66,846.91               $0.00
       Claims
       (From Exhibit 6)
   General Unsecured
   Claims (from                   $1,048,362.78      $624,501.59         $588,865.96                $0.00
   Exhibit 7)
            Total
      Disbursements               $1,819,496.59     $1,699,567.76      $1,680,771.48         $925,000.00

        4). This case was originally filed under chapter 11 on 06/19/2020. The case was
   converted to one under Chapter 7 on 02/02/2021. The case was pending for 15 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 05/23/2022                              By:    /s/ H. Jason Gold
                                                                Trustee




   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                      EXHIBITS TO
                                                     FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                                       UNIFORM                           AMOUNT
                                                                          TRAN. CODE                        RECEIVED
 13159 Lakehill Drive Nokesville VA 20181                                    1110-000                       $921,000.00
 RL Title and Escrow, Inc.                                                   1110-000                        ($1,000.00)
 Household goods and furnishings                                             1129-000                           $200.00
 Synergy Attorney Services 100%                                              1129-000                           $200.00
 Synergy Catering LLC 100%                                                   1129-000                           $200.00
 Synergy Consulting 100%                                                     1129-000                           $200.00
 Synergy Law LLC 90%                                                         1129-000                           $200.00
 Themis Law PLLC 90%                                                         1129-000                         $4,000.00
 TOTAL GROSS RECEIPTS                                                                                       $925,000.00

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
  NONE


  EXHIBIT 3 – SECURED CLAIMS

  CLAIM           CLAIMANT           UNIFORM               CLAIMS               CLAIMS   CLAIMS               CLAIMS
 NUMBER                             TRAN. CODE          SCHEDULED             ASSERTED ALLOWED                  PAID
      6        Wilmington Trust,          4110-000         $647,500.00          $686,578.57   $717,089.18    $717,089.18
               NA, not in its
               individual
      7        CVI SGP-CO                 4210-000               $0.00            $2,983.47         $0.00          $0.00
               Acquisition Trust
               c/o Resurgent
               Capital Services
      30       Windy Hill Estate          4110-000               $0.00            $1,000.00     $2,508.45      $2,508.45
               Homeowners
               Association Inc.
               Credit for                 4110-000               $0.00            ($257.53)     ($257.53)      ($257.53)
               Assessments
               DAIMLER TRUST              4210-000         $121,428.30                $0.00         $0.00          $0.00
     USA       UNITED STATES              4120-000               $0.00           $85,000.00    $85,000.00     $85,000.00
               OF AMERICA
 TOTAL SECURED CLAIMS                                      $768,928.30          $775,304.51   $804,340.10    $804,340.10



  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

          PAYEE               UNIFORM               CLAIMS            CLAIMS              CLAIMS              CLAIMS
                             TRAN. CODE          SCHEDULED          ASSERTED            ALLOWED                 PAID
 H. JASON GOLD,                2100-000                    NA            $49,250.00      $49,250.00          $49,250.00
 Trustee
 Real Markets; Exp             2420-000                    NA             $1,055.59       $1,055.59           $1,055.59

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 Reimbursement
 Grantor Tax                  2500-000               NA            $921.00          $921.00           $921.00
 HOA Package                  2500-000               NA             $15.00           $15.00            $15.00
 Regional Congestion          2500-000               NA          $1,900.00         $1,900.00         $1,900.00
 Fee
 Independent Bank             2600-000               NA            $113.89          $113.89           $113.89
 County Taxes                 2820-000               NA          $2,567.21         $2,567.21         $2,567.21
 Nelson Mullins:              3210-000               NA         $91,452.00      $91,452.00          $13,740.09
 Approved Fees
 (Partial Payment),
 Attorney for Trustee
 Nelson Mullins:              3220-000               NA            $442.12          $442.12           $442.12
 expenses, Attorney for
 Trustee
 Realtor Commissions;         3510-000               NA         $50,655.00      $50,655.00          $50,655.00
 order of empl
 3/19/2021 ECF143,
 Realtor for Trustee
 TOTAL CHAPTER 7 ADMIN. FEES AND                     NA        $198,371.81     $198,371.81         $120,659.90
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

           PAYEE               UNIFORM               CLAIMS   CLAIMS                 CLAIMS          CLAIMS
                              TRAN. CODE          SCHEDULED ASSERTED               ALLOWED             PAID
 COHEN                            6210-160                NA      $33,945.00       $21,945.00           $0.00
 BALDINGER &
 GREENFELD LLC
 COHEN                            6220-170                NA        $196.24             $0.00           $0.00
 BALDINGER &
 GREENFELD LLC
 TOTAL PRIOR CHAPTER ADMIN. FEES                          NA      $34,141.24       $21,945.00           $0.00
 AND CHARGES


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

  CLAIM          CLAIMANT             UNIFORM         CLAIMS          CLAIMS          CLAIMS         CLAIMS
 NUMBER                              TRAN. CODE    SCHEDULED        ASSERTED        ALLOWED            PAID
      4a       Internal Revenue        5800-000       $2,205.51       $63,821.91      $63,821.91         $0.00
               Service
     26a       Raymond and             5600-000           $0.00        $3,025.00       $3,025.00         $0.00
               Ella Walters
 TOTAL PRIORITY UNSECURED CLAIMS                      $2,205.51       $66,846.91      $66,846.91         $0.00


  EXHIBIT 7 – GENERAL UNSECURED CLAIMS

  CLAIM          CLAIMANT             UNIFORM        CLAIMS         CLAIMS           CLAIMS          CLAIMS
 NUMBER                              TRAN. CODE   SCHEDULED       ASSERTED         ALLOWED             PAID

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      1        Onemain                7100-000             $0.00   $18,993.11        $0.00        $0.00
               Financial Attn:
               Bankruptcy
      2        Premier                7100-000         $1,143.00    $1,143.35    $1,143.35        $0.00
               Bankcard, Llc
               Jefferson Capital
               Systems LLC
               Assignee
      3        Premier                7100-000          $300.00      $300.84      $300.84         $0.00
               Bankcard, Llc
               Jefferson Capital
               Systems LLC
               Assignee
      4b       Internal Revenue       7100-000             $0.00   $33,343.11   $33,343.11        $0.00
               Service
      5        JPMorgan Chase         7100-000        $17,630.00   $17,630.49   $17,630.49        $0.00
               Bank, N.A.
      8        Verizon                7100-000             $0.00     $447.98      $447.98         $0.00
      9        Sonya Baugham-         7100-000             $0.00    $1,250.00    $1,250.00        $0.00
               Jackson
      10       Accelerated            7100-000             $0.00   $15,424.25   $15,424.25        $0.00
               Inventory Mgt,
               LLC
      11       Accelerated            7100-000             $0.00    $4,032.01    $4,032.01        $0.00
               Inventory Mgt,
               LLC
      12       Desert Palace          7100-000             $0.00   $13,000.00   $13,000.00        $0.00
               LLC c/o Lippman
               Recupero
      13       WINDY HILL             7100-000             $0.00    $1,000.00        $0.00        $0.00
               HOMEOWNERS
               ASSOCIATION,
               INC.
      14       Synchrony Bank         7100-000             $0.00    $1,336.52    $1,336.52        $0.00
               c/o PRA
               Receivables
               Management,
               LLC
      15       Bureaus                7100-000         $1,458.00    $1,458.26    $1,458.26        $0.00
               Investment Group
               Portfolio No 15
               LLC c/o PRA
               Receivables
               Management,
               LLC
      16       Marc E. Albert,        7100-000             $0.00        $0.00        $0.00        $0.00
               Trustee in
               Synergy Law
               LLC
      17       Brian McCarty          7100-000        $15,320.00   $15,642.52        $0.00        $0.00
      18       Legal Aid              7100-000         $5,035.00    $5,138.50    $5,138.50        $0.00
               Bureau, Inc.


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      19       Daimler Trust          7100-000             $0.00    $62,195.68    $62,195.68        $0.00
               Daimler Trust c/o
               BK Servicing,
               LLC
      20       Office of the          7100-000       $220,500.00   $106,000.00   $106,000.00        $0.00
               United States
               Trustee
      21       Onemain                7100-000        $15,653.00    $18,993.11    $18,993.11        $0.00
               Financial Attn:
               Bankruptcy
      22       John W Bruce           7100-000        $24,120.00    $29,360.00    $29,360.00        $0.00
      23       Lawanda                7100-000         $7,774.92     $7,774.92     $7,774.92        $0.00
               Michelle Harris
      25       Belinda                7100-000         $7,000.00     $7,000.00     $7,000.00        $0.00
               Bradfield-
               Fosburgh
     26b       Raymond and            7100-000       $112,100.00   $109,075.00   $109,075.00        $0.00
               Ella Walters
      27       Marc E. Albert,        7100-000             $0.00   $151,457.69   $151,457.69        $0.00
               Trustee in
               Synergy Law
               LLC
      28       Barbara Penttila,      7200-000             $0.00         $1.00         $1.00        $0.00
               Esq.
      29       Klarna, Inc.           7200-000             $0.00     $2,503.25     $2,503.25        $0.00
               BANK OF                7100-000          $151.00          $0.00         $0.00        $0.00
               AMERICA
               CAPITAL ONE            7100-000          $634.00          $0.00         $0.00        $0.00
               CHASE CARD             7100-000         $6,011.00         $0.00         $0.00        $0.00
               SERVICES
               CHRISTINA V            7100-000        $22,572.26         $0.00         $0.00        $0.00
               MARTINEZ
               CITIBANK               7100-000         $1,987.00         $0.00         $0.00        $0.00
               CONTINENTAL            7100-000          $211.00          $0.00         $0.00        $0.00
               FINANCE
               COMPANY
               FIRST NATL             7100-000         $1,132.00         $0.00         $0.00        $0.00
               BANK/LEGACY
               FIRST                  7100-000          $159.00          $0.00         $0.00        $0.00
               PROGRESS
               FIRST SAVINGS          7100-000         $1,751.00         $0.00         $0.00        $0.00
               BANK
               GENESIS                7100-000         $2,983.00         $0.00         $0.00        $0.00
               FINANCIAL/JA
               RED
               LATONIA                7100-000       $118,080.00         $0.00         $0.00        $0.00
               HAYNES
               NATHAN                 7100-000        $71,500.00         $0.00         $0.00        $0.00
               DECARLOS
               PRICE

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               SCOTT &             7100-000        $24,000.00          $0.00         $0.00        $0.00
               SHIRLEY
               SHERWOOD
               SMART               7100-000       $343,657.60          $0.00         $0.00        $0.00
               BUSINESS
               U.S.                7100-000        $17,500.00          $0.00         $0.00        $0.00
               BANKRUPTCY
               COURT ED NC
               US                  7100-000         $5,000.00          $0.00         $0.00        $0.00
               BANKRUPTCY
               COURT CLERK
               US                  7100-000         $3,000.00          $0.00         $0.00        $0.00
               BANKRUPTCY
               COURT CLERK
 TOTAL GENERAL UNSECURED CLAIMS                  $1,048,362.78   $624,501.59   $588,865.96        $0.00




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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                             Page No:    1              Exhibit 8
                                                                                                      ASSET CASES

Case No.:                       20-11483-KHK                                                                                                             Trustee Name:                              H. Jason Gold
Case Name:                      MARESCA, DAVID MICHAEL                                                                                                   Date Filed (f) or Converted (c):           02/02/2021 (c)
For the Period Ending:          5/23/2022                                                                                                                §341(a) Meeting Date:                      03/08/2021
                                                                                                                                                         Claims Bar Date:                           05/10/2021

                                   1                                            2                             3                                  4                        5                                          6

                          Asset Description                                  Petition/                 Estimated Net Value                   Property                Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                                  Unscheduled                (Value Determined by                   Abandoned               Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                               Value                          Trustee,                  OA =§ 554(a) abandon.          the Estate
                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

 Ref. #
1       13159 Lakehill Drive Nokesville VA 20181                                $988,668.00                           $273,500.00                                       $921,000.00                                             FA
Asset Notes:       homestead exemption waived/released in its entirety per 7/20/21 order ECF216
2       2018 Mercedes-Benz S560 4matic                                           $69,058.00                                    $0.00                                            $0.00                                           FA
3       Household goods and furnishings                                          $16,530.00                               $200.00                                             $200.00                                           FA
Asset Notes:       Value is inclusive of items on continuation page. no exemption in Samsung fridge or another major appliances per order entd 7/20/21 ECF216
4       Electronics                                                                 $1,550.00                                  $0.00                                            $0.00                                           FA
Asset Notes:       Value is inclusive of items on continuation page.
5       Collectibles of value                                                       $1,795.00                                  $0.00                                            $0.00                                           FA
Asset Notes:       Value is inclusive of items on continuation page.
6       Equipment for sports and hobbies                                            $2,050.00                                  $0.00                                            $0.00                                           FA
Asset Notes:       Value is inclusive of items on continuation page.
7       Clothing                                                                    $1,000.00                                  $0.00                                            $0.00                                           FA
8       Assortment of jewelry                                                        $700.00                                   $0.00                                            $0.00                                           FA
9      Any other personal and household items you did                                $900.00                                   $0.00                                            $0.00                                           FA
       not already list, including any health aids you did
       not list
Asset Notes:     value is inclusive of items on continuation page
10      Cash                                                                        $1,500.00                                  $0.00                                            $0.00                                           FA
11      Synergy Consulting 100%                                                     Unknown                               $200.00                                             $200.00                                           FA
12      Synergy Attorney Services 100%                                              Unknown                               $200.00                                             $200.00                                           FA
13      Synergy Catering LLC 100%                                                   Unknown                               $200.00                                             $200.00                                           FA
14      Synergy Law LLC 90%                                                         Unknown                               $200.00                                             $200.00                                           FA
15      Themis Law PLLC 90%                                                         Unknown                             $4,000.00                                         $4,000.00                                             FA
16      Payroll compensation. Debtor hasn't received a                                 $0.00                                   $0.00                                            $0.00                                           FA
        paycheck since February 2019. Originally
        scheduled on ECF 13 at $276,000, but asset and
        value removed per amended SchB ECF29 and
        ECF44
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                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Page No:    2              Exhibit 8
                                                                                                    ASSET CASES

Case No.:                  20-11483-KHK                                                                                                             Trustee Name:                               H. Jason Gold
Case Name:                 MARESCA, DAVID MICHAEL                                                                                                   Date Filed (f) or Converted (c):            02/02/2021 (c)
For the Period Ending:     5/23/2022                                                                                                                §341(a) Meeting Date:                       03/08/2021
                                                                                                                                                    Claims Bar Date:                            05/10/2021

                               1                                                2                            3                              4                        5                                           6

                       Asset Description                                     Petition/                Estimated Net Value                Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                     Unscheduled               (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                  Value                         Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

TOTALS (Excluding unknown value)                                                                                                                                                              Gross Value of Remaining Assets
                                                                              $1,083,751.00                         $278,500.00                                    $926,000.00                                        $0.00




    Major Activities affecting case closing:
     09/29/2021     closing complete; pending claims review, etc.
     09/09/2021     completing sale of property - waiting for closing pending ct approval


Initial Projected Date Of Final Report (TFR):          06/30/2022                           Current Projected Date Of Final Report (TFR):       03/10/2022               /s/ H. JASON GOLD
                                                                                                                                                                         H. JASON GOLD
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          20-11483-KHK                                                                                            Trustee Name:                      H. Jason Gold
 Case Name:                        MARESCA, DAVID MICHAEL                                                                                  Bank Name:                         Independent Bank
Primary Taxpayer ID #:             **-***4831                                                                                              Checking Acct #:                  ******1483
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:                    Checking
For Period Beginning:              6/19/2020                                                                                               Blanket bond (per case limit):     $3,000,000.00
For Period Ending:                 5/23/2022                                                                                               Separate bond (if applicable):

       1                2                                  3                                           4                                                         5                6                      7

   Transaction       Check /                           Paid to/               Description of Transaction                                    Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                                          Tran Code            $                $


07/15/2021                     Bank of America                        From David Maresca, for Settlement regarding                             *               $5,000.00                                     $5,000.00
                                                                      non-exempt Personal Property per 7/20/21 order ECF216
                      {15}                                            Themis Law interest                                $4,000.00          1129-000                                                         $5,000.00
                      {3}                                             non-exempt pers prop                                     $200.00      1129-000                                                         $5,000.00
                      {11}                                            Synergy Consulting interest                              $200.00      1129-000                                                         $5,000.00
                      {12}                                            Synergy Atty Svcs interest                               $200.00      1129-000                                                         $5,000.00
                      {13}                                            Synergy Catering interest                                $200.00      1129-000                                                         $5,000.00
                      {14}                                            Synergy Law interest                                     $200.00      1129-000                                                         $5,000.00
07/30/2021                     Independent Bank                       Account Analysis Charge                                               2600-000                                   $3.77                 $4,996.23
08/31/2021                     Independent Bank                       Account Analysis Charge                                               2600-000                                   $7.28                 $4,988.95
09/29/2021                     RL Title and Escrow, Inc.              Sale of Real Estate per 9/9/21 order ECF254                              *              $58,546.10                                 $63,535.05
                      {1}                                             gross Sale Price                                     $921,000.00      1110-000                                                     $63,535.05
                                                                      Seller Credit                                          $(1,000.00)    1110-000                                                     $63,535.05
                                                                      Credit for Assessments                                   $257.53      4110-000                                                     $63,535.05
                                                                      County Taxes                                           $(2,567.21)    2820-000                                                     $63,535.05
                                                                      Realtor Commissions; order of empl                    $(50,655.00)    3510-000                                                     $63,535.05
                                                                      3/19/2021 ECF143
                                                                      Grantor Tax                                              $(921.00)    2500-000                                                     $63,535.05
                                                                      Regional Congestion Fee                                $(1,900.00)    2500-000                                                     $63,535.05
                                                                      USA: Court Ordered Civil Forfeiture;                  $(85,000.00)    4120-000                                                     $63,535.05
                                                                      ECF255
                                                                      Real Markets; Exp Reimbursement                        $(1,055.59)    2420-000                                                     $63,535.05
                                                                      HOA Dues                                               $(2,508.45)    4110-000                                                     $63,535.05
                                                                      HOA Package                                               $(15.00)    2500-000                                                     $63,535.05
                                                                      Payoff 1st Mortgage                                  $(717,089.18)    4110-000                                                     $63,535.05
09/30/2021                     Independent Bank                       Account Analysis Charge                                               2600-000                                  $10.21             $63,524.84
10/29/2021                     Independent Bank                       Account Analysis Charge                                               2600-000                                  $92.63             $63,432.21
11/12/2021           1001      H. JASON GOLD                          trustee's interim fees per Order entered 11/8/2021                    2100-000                              $49,250.00             $14,182.21
                                                                      ECF274



                                                                                                                                           SUBTOTALS          $63,546.10          $49,363.89
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                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         20-11483-KHK                                                                                                 Trustee Name:                      H. Jason Gold
 Case Name:                       MARESCA, DAVID MICHAEL                                                                                       Bank Name:                         Independent Bank
Primary Taxpayer ID #:            **-***4831                                                                                                   Checking Acct #:                   ******1483
Co-Debtor Taxpayer ID #:                                                                                                                       Account Title:                     Checking
For Period Beginning:             6/19/2020                                                                                                    Blanket bond (per case limit):     $3,000,000.00
For Period Ending:                5/23/2022                                                                                                    Separate bond (if applicable):

       1                2                                3                                                4                                                         5                 6                      7

   Transaction       Check /                          Paid to/                   Description of Transaction                                     Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                                               Tran Code            $                $


11/12/2021           1002      Nelson Mullins Riley & Scarborough LLP     atty fees and expenses per Order entered 11/8/2021;                      *                                  $14,182.21                    $0.00
                                                                          ECF273
                                                                          Nelson Mullins: expenses                                $(442.12)    3220-000                                                             $0.00
                                                                          Nelson Mullins: Approved Fees (Partial                $(13,740.09)   3210-000                                                             $0.00
                                                                          Payment)

                                                                                            TOTALS:                                                               $63,546.10          $63,546.10                    $0.00
                                                                                                Less: Bank transfers/CDs                                               $0.00               $0.00
                                                                                            Subtotal                                                              $63,546.10          $63,546.10
                                                                                                Less: Payments to debtors                                              $0.00               $0.00
                                                                                            Net                                                                   $63,546.10          $63,546.10



                     For the period of 6/19/2020 to 5/23/2022                                                            For the entire history of the account between 07/15/2021 to 5/23/2022

                     Total Compensable Receipts:                          $925,000.00                                    Total Compensable Receipts:                               $925,000.00
                     Total Non-Compensable Receipts:                            $0.00                                    Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                        $925,000.00                                    Total Comp/Non Comp Receipts:                             $925,000.00
                     Total Internal/Transfer Receipts:                          $0.00                                    Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                     $925,000.00                                    Total Compensable Disbursements:                          $925,000.00
                     Total Non-Compensable Disbursements:                       $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                   $925,000.00                                    Total Comp/Non Comp Disbursements:                        $925,000.00
                     Total Internal/Transfer Disbursements:                     $0.00                                    Total Internal/Transfer Disbursements:                          $0.00
                                       Case 20-11483-KHK           Doc 314 Filed 06/01/22
                                                                                  FORM 2 Entered 06/01/22 15:27:31                                    Desc Main
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          20-11483-KHK                                                                                  Trustee Name:                         H. Jason Gold
Case Name:                        MARESCA, DAVID MICHAEL                                                                        Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:            **-***4831                                                                                    Checking Acct #:                      ******0011
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        DDA
For Period Beginning:             6/19/2020                                                                                     Blanket bond (per case limit):        $3,000,000.00
For Period Ending:                5/23/2022                                                                                     Separate bond (if applicable):

      1                 2                                3                                       4                                                     5                  6                    7

  Transaction        Check /                          Paid to/           Description of Transaction                              Uniform           Deposit          Disbursement            Balance
     Date             Ref. #                       Received From                                                                Tran Code            $                   $


                                                                                   TOTALS:                                                                 $0.00               $0.00                  $0.00
                                                                                       Less: Bank transfers/CDs                                            $0.00               $0.00
                                                                                   Subtotal                                                                $0.00               $0.00
                                                                                       Less: Payments to debtors                                           $0.00               $0.00
                                                                                   Net                                                                     $0.00               $0.00



                     For the period of 6/19/2020 to 5/23/2022                                                For the entire history of the account between 01/26/2022 to 5/23/2022

                     Total Compensable Receipts:                        $0.00                                Total Compensable Receipts:                                      $0.00
                     Total Non-Compensable Receipts:                    $0.00                                Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                      $0.00                                Total Comp/Non Comp Receipts:                                    $0.00
                     Total Internal/Transfer Receipts:                  $0.00                                Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                   $0.00                                Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:               $0.00                                Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                 $0.00                                Total Comp/Non Comp Disbursements:                               $0.00
                     Total Internal/Transfer Disbursements:             $0.00                                Total Internal/Transfer Disbursements:                           $0.00
                                      Case 20-11483-KHK           Doc 314 Filed 06/01/22
                                                                                 FORM 2 Entered 06/01/22 15:27:31                                    Desc Main
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         20-11483-KHK                                                                                  Trustee Name:                         H. Jason Gold
Case Name:                       MARESCA, DAVID MICHAEL                                                                        Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:           **-***4831                                                                                    Checking Acct #:                      ******0011
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                        DDA
For Period Beginning:            6/19/2020                                                                                     Blanket bond (per case limit):        $3,000,000.00
For Period Ending:               5/23/2022                                                                                     Separate bond (if applicable):

      1                 2                                3                                         4                                                  5                  6                   7

  Transaction        Check /                         Paid to/              Description of Transaction                           Uniform           Deposit          Disbursement           Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                   $




                                                                                                                                                                             NET            ACCOUNT
                                                                                     TOTAL - ALL ACCOUNTS                               NET DEPOSITS                    DISBURSE           BALANCES

                                                                                                                                                  $63,546.10           $63,546.10                   $0.00




                     For the period of 6/19/2020 to 5/23/2022                                               For the entire history of the case between 02/02/2021 to 5/23/2022

                     Total Compensable Receipts:                    $925,000.00                             Total Compensable Receipts:                               $925,000.00
                     Total Non-Compensable Receipts:                      $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                  $925,000.00                             Total Comp/Non Comp Receipts:                             $925,000.00
                     Total Internal/Transfer Receipts:                    $0.00                             Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:               $925,000.00                             Total Compensable Disbursements:                          $925,000.00
                     Total Non-Compensable Disbursements:                 $0.00                             Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:             $925,000.00                             Total Comp/Non Comp Disbursements:                        $925,000.00
                     Total Internal/Transfer Disbursements:               $0.00                             Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                            /s/ H. JASON GOLD
                                                                                                                            H. JASON GOLD
